Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 1 of 8




                EXHIBIT B
       Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 2 of 8




        Selected Public Statements by Donald J. Trump Since the Carroll II Verdict

MAY 9, 2023: TRUTH SOCIAL STATEMENTS

•   “I HAVE ABSOLUTELY NO IDEA WHO THIS WOMAN IS. THIS VERDICT IS A
    DISGRACE – A CONTINUATION OF THE GREATEST WITCH HUNT OF ALL TIME!”

    o https://truthsocial.com/@realDonaldTrump/posts/110340379870475514

•   “VERY UNFAIR TRIAL!”

    o https://truthsocial.com/@realDonaldTrump/posts/110340693890735488

•   “WHAT ELSE CAN YOU EXPECT FROM A TRUMP HATING, CLINTON APPOINTED
    JUDGE, WHO WENT OUT OF HIS WAY TO MAKE SURE THAT THE RESULT WAS
    AS NEGATIVE AS IT COULD POSSIBLY BE, SPEAKING TO, AND IN CONTROL OF,
    A JURY FROM AN ANTI-TRUMP AREA WHICH IS PROBABLY THE WORST PLACE
    IN THE U.S. FOR ME TO GET A FAIR “TRIAL.””

    o https://truthsocial.com/@realDonaldTrump/posts/110341037861272906

•   Video Statements:

    o “This was a very unfair trial. That’s all you have to say. [It] was a very unfair trial.”

           https://truthsocial.com/@realDonaldTrump/posts/110341679071502131

    o “I have absolutely no idea who this woman is. The verdict is a disgrace, a continuation
      of the greatest witch hunt of all time. Absolutely a shame.”

           https://truthsocial.com/@realDonaldTrump/posts/110341680295215530

    o “What else can you expect from a Trump-hating, Clinton-appointed judge who went out
      of his way to make sure that the result of this trial was as negative as it could possibly be.
      Speaking to and in control of a jury from an anti-Trump area, which is probably the worst
      place in the United States for me to get a fair trial. We’ll be appealing this decision, it’s a
      disgrace. I don’t even know who this woman is. I have no idea who she is, where she came
      from. This is another scam, it’s a political witch hunt, and somehow, we’re gonna have to
      fight this stuff. We can not let our country go into this abyss; this is disgraceful. You have
      somebody running for office, you have a woman that’s financed and lied about it. She
      totally lied about it. By Democrat operatives, like, just about the biggest one there is. And
      she said that wasn’t true. They found that she lied about it, and the judge wasn’t even I
      guess letting it be put in as evidence. The whole thing is a scam, and it’s a shame, it’s a
      disgrace to our country.”

           https://truthsocial.com/@realDonaldTrump/posts/110341681988271203
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 3 of 8




MAY 10, 2023: TRUTH SOCIAL STATEMENTS

•   “After listening to the Anderson Cooper tape of the Carroll interview where she said “rape is
    sexy,” and other totally incriminating things, it is not possible to believe that this woman, who
    I do not know and have never met before (except on a crowded celebrity photo line), could be
    credible or convincing to a Judge & Jury. Why did Cooper SUDDENLY call for a commercial
    break, and why was Carroll a totally different person after the break? What took place during
    the break for such drastic change?”

    o https://truthsocial.com/@realDonaldTrump/posts/110342629389312163

•   “This Clinton appointed Judge, Lewis Kaplan, hated President Donald J. Trump more than is
    humanly possible. He is a terrible person, completely biased, and should have RECUSED
    himself when asked to do so. He quickly refused! This case should never have been allowed
    to be tried in this completely partisan venue, perhaps the worst for me in the Nation! The whole
    Rigged Hoax is yet another TRAVESTY OF JUSTICE, a continuation of the greatest political
    Witch Hunt of all time!!!”

    o https://truthsocial.com/@realDonaldTrump/posts/110342704670441764

•   “I HAVE NO IDEA WHO THIS WOMAN, WHO MADE A FALSE AND TOTALLY
    FABRICATED ACCUSATION, IS. HOPEFULLY JUSTICE WILL BE SERVED ON
    APPEAL!”

    o https://truthsocial.com/@realDonaldTrump/posts/110344508749115738

MAY 10, 2023: CNN TOWN HALL INTERVIEW

       TRUMP: …This woman, I don’t know her. I never met her. I have no idea who she is. I
       had a picture taken years ago with her and her husband, nice guy John Johnson. He was a
       newscaster, very nice man. She called him an ape, happens to be African-American. Called
       him an ape – the judge wouldn’t allow us to put that in. Her dog or her cat was named
       vagina, the judge wouldn’t allow to put that in. All these things, he – but with her, they can
       put in anything, “Access Hollywood”

       COLLINS: This was a jury of nine people who found you –

       TRUMP: That’s right

       COLLINS: – liable of sexual abuse. Do you think that – that will deter women from voting
       for you?

       TRUMP: No, I don’t think so because I think the whole thing – just so you understand –
       ready? I never met this woman. I never saw this woman. This woman said I met her at the
       front door of Bergdorf Goodman which I never go into other than for a couple of charities.
       I met her in the front door. She was about 60 years. This is like 22, 23 years ago. I met her
       in the front door of Bergdorf Goodman. I was immediately attracted to her and she was


                                                 2
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 4 of 8




       immediately attracted to me. And we had this great chemistry. We’re walking into a
       crowded department store. We had this great chemistry. And a few minutes later, we end
       up in a room, a dressing room of Bergdorf Goodman, right near the cash register. And then
       she found out that there were locks in the door. She said, I found one that was open. She
       found one, she learned this at trial. She found one that was open. What kind of a woman
       meet somebody and brings them up and within minutes, you’re playing hanky-panky in a
       dressing room, okay? I don’t know if she was married then or not. John Johnson, I feel
       sorry for you, John Johnson.

       COLLINS: Mr. President, can I – can I ask you this?

       TRUMP: Think of it, think of this –

       COLLINS: I know you’re recounting what you said but, Mr. President –

       TRUMP: But let me just, if I could because you asked a question.

       COLLINS: This was a jury though –

       TRUMP: Just so you understand, because I was walking in at a department – because I was
       very famous then and I owned the Plaza Hotel right next door and I owned the buildings
       around it. I’m not going into a dressing room of a crowded department store. Then I say, if
       she was being raped – and by the way, they said she wasn’t raped, okay? That was her
       charge. It wasn’t –

       COLLINS: They found that you sexually abused her.

       TRUMP: Oh, that was – say what the – they didn’t – they said he didn’t rape her.”

       https://www.cnn.com/2023/05/11/politics/transcript-cnn-town-hall-trump/index.html

MAY 23, 2023: TRUTH SOCIAL STATEMENTS

•   “I don’t know E. Jean Carroll, I never met her or touched her ￼(except on a celebrity line with
    her African American husband who she disgustingly called the “Ape,”), I wouldn’t want to
    know or touch her, I never abused her or raped her or took her to a dressing room 25 years ago
    in a crowded department store where the doors are LOCKED, she has no idea when, or did
    anything else to her, except deny her Fake, Made Up Story, that she wrote in a book. IT
    NEVER HAPPENED, IS A TOTAL SCAM, UNFAIR TRIAL!”

    o https://truthsocial.com/@realDonaldTrump/posts/110417777996621361

•   “Page 2: The Carroll case is part of the Democrats playbook to tarnish my name and person,
    much like the now fully debunked Russia, Russia, Russia Hoax, the 51 Intelligence Agents,
    FBI/Twitter Files, and so much more. It is being funded and tried by Democrat operatives,
    although this was denied by them, and when they got caught in the lie, the Clinton appointed



                                                3
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 5 of 8




    judge would not let us use it in trial. Time will prove him to be highly partisan & very unfair.
    Where’s the dress she said she had?”

    o https://truthsocial.com/@realDonaldTrump/posts/110417846464005356

•   Quote Truth of first listed statement on May 23, with accompanying video of EJC on
    Anderson Cooper.

    o https://truthsocial.com/@realDonaldTrump/posts/110418234501420922

MAY 24, 2023: TRUTH SOCIAL STATEMENT

•   “Is she, in actuality, a stalker?”

    o https://truthsocial.com/@realDonaldTrump/posts/110424386452180138

JULY 12, 2023: TRUTH SOCIAL STATEMENTS

•   “Page 1: The DOJ will not defend me in the E. Jean Carroll civil case, which is all part of the
    political Witch Hunt, lawyered up by a political operative who I just beat in another case,
    financed by a big political funder, and ‘judged’ by a Clinton appointee who truly hates
    ‘TRUMP.’ The statements that I made about Carroll are all true. I didn’t Rape her (I won that
    at trial) and other than for this case, I have NO IDEA WHO SHE IS, WHAT SHE LOOKS
    LIKE, OR ANYTHING ABOUT HER…”

    o https://truthsocial.com/@realDonaldTrump/posts/110700658213984237

•   “Page 2: The Carroll civil case against me is a Miscarriage of Justice and a total Scam. The
    trial was very unfair, with the other side being able to do and present virtually anything they
    wanted, and our side being largely and wrongfully shut down by an absolutely hostile, biased,
    and out of control judge. My lawyers, due to their respect for the Office of the President and
    the incredulity of the case, did not want me to testify, or even be at the trial…”

    o https://truthsocial.com/@realDonaldTrump/posts/110700815543746376

•   “Page 3: The net result of this horrible INJUSTICE, where a completely unknown to me
    woman made up a ridiculous story, wrote it in a book to increase publicity and sales, I correctly
    disputed the story and got sued for Defamation, whereupon a hostile Judge and Jury shockingly
    awarded a woman who I don’t know, have never known, and don’t want to know, $5,000,000,
    while at the same time throwing out the Fake Rape claim. WE ARE STRONGLY
    APPEALING THIS TRAVESTY OF JUSTICE!!!”

    o https://truthsocial.com/@realDonaldTrump/posts/110700915073200793




                                                 4
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 6 of 8




AUGUST 30, 2023: INTERVIEW WITH GLENN BECK ON THE GLENN BECK
PROGRAM

•   “The woman that I never met that they accused me of rape; that’s being run by a Democrat, a
    Democrat operative, and paid for by the Democrat Party… you know, so many of these things,
    I have a couple of other lawsuits, all funded against me by the Democrat [sic] Party. These are
    sick people. These are evil people.”

    o https://www.youtube.com/watch?v=IHz7sJvTD6Q at 03:11:00.

NOVEMBER 29, 2023 TRUTH SOCIAL STATEMENT

•   “I hope that Mayor Eric Adam’s, Andrew Cuomo, and all of the others that got sued based on
    this ridiculous law where someone can be sued decades later, and with no proof, will fight it
    on being totally unfair and UNCONSTITUTIONAL. I got sued, decades later (she has no idea
    when her made up event took place!), by a woman - I HAD NO IDEA WHO SHE WAS. It
    was a made up fairytale that was brought and funded by political operatives for purposes of
    Election Interference.”

    o https://truthsocial.com/@realDonaldTrump/posts/111492289073450486

DECEMBER 8, 2023 TRUTH SOCIAL STATEMENT

•   “This disgusting Slob, a Democrat Political Operative, is the same guy who funded a woman
    who I knew absolutely nothing about, sued me for Rape, for which I was found NOT GUILTY.
    She didn’t remember the year, decade, or much else! In Interviews she said some amazingly
    “inconsistent” things. Disgraceful Trial—Very unfair. I was asked by my lawyer not to
    attend—“It was beneath me, and they have no case.” That was not good advice.”

    o https://truthsocial.com/@realDonaldTrump/posts/111542183787096947

JANUARY 4, 2023 SAMPLING OF TRUTH SOCIAL STATEMENTS

•   “Except for a Fraudulent Case against me, I had no idea who E. Jean Carroll was. She called
    her African American Husband an “ape,” and named her Cat “Vagina.” Look at her Tweets,
    Stories, and the CNN Interview about her. The Judge on the Case is another Highly Partisan
    Clinton-Appointed Friend. He should have recused himself long ago!”

    o   https://truthsocial.com/@realDonaldTrump/posts/111700706558825245
    o   https://truthsocial.com/@realDonaldTrump/posts/111700702455326
    o   https://truthsocial.com/@realDonaldTrump/posts/111700704535068408
    o   https://truthsocial.com/@realDonaldTrump/posts/111700710483310396
    o   https://truthsocial.com/@realDonaldTrump/posts/111700708212297957
    o   https://truthsocial.com/@realDonaldTrump/posts/111700712207748893




                                                5
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 7 of 8




•   “The National Pulse: “Other Facebook posts uncovered by The National Pulse shed further
    light on the mind of Trump’s accuser. Carroll, who penned an advice column for Elle
    magazine, posed questions for her audience including: ‘Big Dick Energy: Obama’s got it.
    Putin’s got it. Maxine Waters’s got it. Who’s on YOUR Big Dick Energy List?’ And ‘Let’s
    play Boff/Marry/Strangle. I’ll start: Ryan Seacrest, Dick Cheney, Steve Jobs. (And yes I
    KNOW the game is really called F/M/K)’.”

    o https://truthsocial.com/@realDonaldTrump/posts/111700738020229403

•   “Byron York: “Tech billionaire Reid Hoffman is bankrolling Carroll’s case. Like so many
    others involved on Carroll’s side, Hoffman is profoundly anti-Trump. He is also not afraid to
    push the envelope of anti-Trumpism; in 2018, he apologized for funding a group that secretly
    imitated Russian disinformation tactics in an attempt to benefit the Democrat in Alabama’s
    special election for the U.S. Senate. Hoffman’s $$ has made some waves in the Carroll case
    because, in her Oct 2022 deposition, Carroll denied that anyone was paying her legal fees. Here
    is what Carroll said: Q: Are you presently paying your counsel’s fees? A: This is a contingency
    case. Q: So you’re not paying expenses or anything out of pocket to date. Is that correct? A:
    I’m not sure about expenses. I have to look that up. Q: Is anyone else paying your legal fees,
    Ms. Carroll? A: No. As the trial approached, Kaplan, Carroll’s lawyer, wrote to the Trump
    legal team to admit that what Carroll said was not true.”

    o https://truthsocial.com/@realDonaldTrump/posts/111700771966164155


JANUARY 11, 2024 PRESS CONFERENCE

•   “That’s another one … sponsored by Reid Hoffman and some democrat operatives. I never
    saw this woman in my life other than they have a picture with her and her husband … John
    Johnson, a nice guy, who was a newscaster many years ago. I remember him. She said horrible
    things about him … since. I mean horrible horrible things. She called [him] bad names. … I
    have no idea who this woman is. I have absolutely no idea, the whole thing is ridiculous that
    this is even a case. This should never have happened. But again, this is sponsored by the
    democrats. It’s another case. All sponsored …. It’s called election interference and yeah I’m
    going go to her and I’m going to explain, I don’t know who the hell she is. I have no idea. They
    called me up years ago and they said do you know about this woman, 25 or 30 years ago? She
    doesn’t even know the date, the time, the month, the season. She has no idea and … take a look
    at the Anderson Cooper interview of her, and if you take a look at that, Trump is so innocent.
    But we have been given a very unfair trial there too.”

    o https://www.c-span.org/video/?532852-1/president-trump-news-conference-york-civil-
      fraud-trial




                                                 6
        Case 1:20-cv-07311-LAK Document 331-2 Filed 03/26/24 Page 8 of 8




JANUARY 13, 2024 TRUTH SOCIAL STATEMENTS

•   “Crazed, Trump hating Judge, Lewis Kaplan, who presided over the Election Interference
    Witch Hunt, disguised as a trial, of a woman I have never met before (celebrity photo line does
    not count - I had no idea who she was!), was asked if he could delay this Rigged Political Scam
    for one day so that I could attend the FUNERAL OF MY BELOVED MOTHER-IN-LAW
    WITH MY WIFE, THE FORMER (AND NEXT!) FIRST LADY OF THE UNITED STATES
    — AND HE SAID NO. He is a bad person and an even worse Judge. Appointed by, and friends
    with, Clinton, he purposely scheduled this HOAX right in the middle of the important New
    Hampshire Primary. This is the second trial concerning the same person, who is represented
    and financed by POLITICAL OPERATIVES. It could have taken place at any time, including
    months ago. Can anyone imagine a husband not going to his wife’s mother’s funeral over a
    MADE UP STORY - A story that has been allowed to simmer by a really bad Judge who
    suffers from TRUMP DERANGEMENT SYNDROME!”

    o https://truthsocial.com/@realDonaldTrump/posts/111750578985847336

•   “Lewis Kaplan, the terrible, biased, irrationally angry Clinton-appointed Judge in the
    Bergdorf’s Hoax, refused to postpone the sham trial next week, even in light of the funeral of
    my beloved Mother-in-law. This Judge has been ruthlessly unfair from the first day of Crooked
    Joe Biden’s Election Interfering Witch Hunt. I don’t know this woman, who I have never met
    (photo line does not count), who doesn’t remember the day, month, season, or decade the event
    she has made up supposedly occurred. She and her Democrat disgraced operative attorney,
    who I beat in another Election Interference type Hoax a number of months ago, tried to
    blackmail me with a dress, but once it was exposed to have no connection to me AT ALL,
    begged the Judge to exclude it from evidence. Of course, the Radical Judge went along with
    their wishes…..”

    o https://truthsocial.com/@realDonaldTrump/posts/111751169352497990

•   “I had no idea who this woman was. She wrote nonsense about me in her failed book, the press
    asked me if it was true, I said NO, and so it began - A totally fabricated story with another
    Trump hating Judge. Our legal system is TERRIBLE!!!”

    o https://truthsocial.com/@realDonaldTrump/posts/111751374446046797




                                                7
